Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22   Page 1 of 26 PageID 8




                EXHIBIT 1




                                                          Exhibit 1
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22 Page 2 of 26 PageID 9
                                               Service of Process
                                               Transmittal
                                                                                                    03/10/2022
                                                                                                    CT Log Number 541203945
TO:         Legal Sop
            Best Buy Enterprise Services, Inc.
            7601 PENN AVE S
            RICHFIELD, MN 55423-3683

RE:         Process Served in Texas

FOR:        Best Buy Co., Inc. (Domestic State: MN)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: MIGUEL GARCIA // To: Best Buy Co., Inc.
DOCUMENT(S) SERVED:                               Citation, Attachment(s), Petition and Demand
COURT/AGENCY:                                     68th District Court of Dallas County, TX
                                                  Case # DC2201840
NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 05/24/2020
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:                         By Process Server on 03/10/2022 at 12:12
JURISDICTION SERVED :                             Texas
APPEARANCE OR ANSWER DUE:                         By 10 a.m. of the Monday next following the expiration of 20 days after service
                                                  (Document(s) may contain additional answer dates)
ATTORNEY(S) / SENDER(S):                          LOREN G. KLITSAS
                                                  KLITSAS & VERCHER, P.C.
                                                  550 WESTCOTT, SUITE 570
                                                  HOUSTON, TX 77007
                                                  713-862-1365
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 03/11/2022, Expected Purge Date:
                                                  03/16/2022

                                                  Image SOP

                                                  Email Notification, Legal Sop ctlegalsop@bestbuy.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  1999 Bryan Street
                                                  Suite 900
                                                  Dallas, TX 75201
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / SL
        Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22   Page 3 of 26 PageID 10



                                                              ~®Wolters Kluwer

                          PROCESS SERVER DELIVERY DETAILS




Date:                       Thu, Mar 10, 2022

Server Name:                Steve Friedenthal




Entity Served               BEST BUY CO., INC.

Case Number                 DC-22-01840

Jurisdiction                TX
                     Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                          Page 4 of 26 PageID 11



FORM NO. 353-3- CITATION                                                                                                  ESERVE
THE STATE OF TEXAS
                                                                                                                        CITATION

To:     BEST BUY CO., INC.
        SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                                  DC-22-01840
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3136
                                                                                                                      MIGUEL GARCIA
GREETINGS:                                                                                                                  vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written                        BEST BUY CO., INC.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you. In addition to filing a written answer with the clerk, you may be required to make initial                ISSUED THIS
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days    22nd day of February, 2022
after you file your answer with the clerk. Find out more at TexasLawHelp.org. Your answer should be
addressed to the clerk ofthe 68th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                      FELICIA PITRE
Said Plaintiff being MIGUEL GARCIA                                                                                  Clerk District Courts,
                                                                                                                    Dallas County, Texas
Filed in said Court 15th day of February, 2022 against

BEST BUY CO., INC.                                                                                              By: DANIEL MACIAS, Deputy

For Suit, said suit being numbered DC-22-01840, the nature of which demand is as follows:                           Attorney for Plaintiff
Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURE,                                LOREN G. KLITSAS
a copy of which accompanies this citation. If this citation is not served, it shall be returned unexecuted.      KLITSAS & VERCHER, P.C.
                                                                                                                 550 WESTCOTT SUITE 570
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                      HOUSTON TX 77007
Given under my hand and the Seal of said Court at office this 22nd day of February, 2022.                                713-862-1365
                                                                                                                     klitsas@kv-law .com
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                     DALLAS COUNTY
                                                                                                                  SERVICE FEES
                                 12.--   l----
                         By______~~~-=~--------------'Depucy
                             DAN~t MACIAS
                                                                                                                    NOT PAID
                          Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                                                Page 5 of 26 PageID 12




                                                                           OFFICER'S RETURN
Case No.: DC-22-01840

Court No.68th District Court

Style: MIGUEL GARCIA

vs.

BEST BUY CO., INC.

Came to hand on the _ _ _ _ _ _ _day of _ _ _ _ _ _ _ _., 20_ _ _ _, at                                      o'clock _ _ _ _ .M. Executed at - - - - - - - - - - - - - •
within the County of _ _ _ _ _ _ _ _ _ _ _ at _ _ _ _ _ o'clock                                .M. on the                       day of._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




each in person, a true copy of this Citation together with the acco::1panying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                 miles and my fees are as follows: To certify which witness my hand.

                               For   s~rving   Citation        $ _ _ __

                               For mileage                     $                              of                           County,

                               For Notary                      $                               By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Deputy

                                                                   (Mt:.st be verified if served outside the State of Texas.)

Signed and sworn to by the said _ _ _ _ _ _ _ _ _ _ _ before me this _ _ _ day of _ _ _ _ _ _ _ _ _ , 20 _ _ _.

to certify which witness my hand and seal of office.


                                                                                                Notary Public                                  County
                                                                                                               FILED
  Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                    Page 6 of 26 PageID 13 2/15/2022 10:42 AM
                                                                                                 FELICIA PITRE
1 CIT ESERVE JURY DEMAND                                                                              DISTRICT CLERK
                                                                                                   DALLAS CO., TEXAS
                                                                                               Paula Mountique DEPUTY
                                                 DC-22-01840
                                      CAUSE NO. _ _ __

    MIGUEL GARCIA                                     §                IN THE DISTRICT COURT OF
                                                      §
    V.                                                §                   DALLASCOUNTY,TEXAS
                                                      §               68th
    BEST BUY CO., INC.                                §                       JUDICIAL DISTRICT



                     PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND

  TO THE HONORABLE JUDGE OF SAID COURT:·

          COMES NOW, MIGUEL GARCIA, hereinafter sometimes referred to as "Plaintiff,"

  complaining of BEST BUY CO., INC., hereinafter sometimes referred to as "Defendant", and for

  cause of action would show unto the Court as follows:

                                               I. LEVEL

          Discovery is intended to be conducted under Level2 of the Texas Rules of Civil Procedure

  190. Plaintiff affirmatively pleads that he seeks only monetary relief in excess of $250,000, but

  not more than $1,000,000, excluding costs, penalties, expenses, pre-judgment interest, and

  attorney's fees.

                                             II. PARTIES

          Plaintiff is a resident of Dallas County, Texas.

          Defendant, Best Buy Co., Inc. is a foreign for-profit corporation licensed to do business in

  Texas, and may be served by serving its registered agent for service, CT Corporation System, 1999

  Bryan St., Suite 900, Dallas, Texas 75201-3136 or wherever it may be found.

                      III. ASSUMED NAMES, MISNOMER, AND ALTER EGO

          As authorized by Rule 28 ofthe Texas Rules of Civil Procedure, this suit is brought against

  all those partnerships, unincorporated associations, private corporations, and individuals, either ·

  known or unknown, who are or were, during the period in which the incident made the basis of
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                      Page 7 of 26 PageID 14



this lawsuit occurred, including Ma7 24, 2020, doing business as Best Buy Co., Inc. Further, in

the event that any parties are misnamed or not included herein, it is Plaintiffs contention that such

was a misnomer and/or such parties are/were alter egos of parties named herein.

        Whenever in this petition it is alleged that the Defendant did any act or thing, it is meant

that the Defendant's agents, officers, servants, borrowed servants, employees, or representatives

did such act or thing and that the time such act or thing was done, it was done with the full

authorization or ratification of Defendant or was done in the normal and routine course and scope

of employment of Defendant's officers, agents, servants, borrowed servants, employees or

representatives. The principal is vicariously liable for the acts of the agent because of an employer

employee status, agency by estoppel, ostensible agency or borrowed servant doctrine.

                                  IV. JURISDICTION & VENUE

        This Court has jurisdiction in this cause since the damages to Plaintiff are within the

jurisdictional limits of this Court.

        All or a substantial part of the event or omissions giving rise to the claim occurred in Dallas

County. Therefore, venue is proper pursuant to §15.001 and §15.002(a)(1) of the Texas Civil

Practice & Remedies Code.

                                       V. NON-SUBSCRIBER

        At all times material, Defendant, Best Buy Co., Inc. was a non-subscriber pursuant to Tex.

Lab. Code§ 401.001, et seq.

                                             VI. FACTS

                                             Negligence

        On or about May 24, 2020, Plaintiff was lifting items in the warehouse at the Best Buy

located at 731 N. Highway 67, in Cedar Hill, Texas when he injured his back, seriously injuring



                                                  2
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                      Page 8 of 26 PageID 15



himself. Defendant was negligent for the following acts and/or omissions including, but not

limited to:

        1.      Failure to provide a safe workplace;

        2.      Failure to provide adequate safety policies and practices;

        3.      Failure to follow adequate safety policies and practices;

        3.      Failure to provide proper assistance and training;

        4.      Failure to provide properly trained supervisors and/or directors;

        5.      Requiring Plaintiff to perform tasks under conditions as stated above;

        6.      Failure to maintain equipment; and

        7.     Negligence in general.

        The above-mentioned acts and/or omissions of Defendant constitutes negligence which

proximately caused the damages sustained by Plaintiff.

                                          VII. DAMAGES

        As a result of the occurrence in question, Plaintiff, Miguel Garcia, sustained serious

personal injuries, mental anguish, physical pain and suffering, medical expenses in the past, and

impairment and disability in the past. It is believed the Plaintiff will also suffer legally recoverable

damages in the future. The Plaintiff will respectfully request the Court and Jury to determine the

amount of loss that Miguel Garcia has incurred and will incur in the future, not only from a

financial standpoint, but also in terms of good health and freedom from pain and worry. There are

certain elements of damages provided by law that the Plaintiff is entitled to have the jury in this

case consider separately to determine the sum of money for each element that will fairly and

reasonably compensate the Plaintiff for the injuries, damages, and losses incurred from the date of

the accident in question until the time of trial of this case. Those elements of damages are as



                                                   3
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                      Page 9 of 26 PageID 16



follows:

       a.      The physical pain that the Plaintiff has suffered from the date of the occurrence in
               question up to the time of trial;

       b.      The mental anguish that the Plaintiff has suffered from the date of the occurrence
               in question up to the time of trial;

       c.      The amount of reasonable medical expenses necessarily incurred in the treatment
               of the Plaintiffs injuries from the date of the accident in question up to the time of
               trial;

       d.      The loss and/or reduction of earnings and/or earning capacity sustained by the
               Plaintiff from the date of the occurrence in question up to the time of trial;

       e.      The disfigurement which the Plaintiff has suffered from the date of the occurrence
               in question up to the time of trial; and

       f.      The physical impairn1ent in which the Plaintiff has suffered from the date of the
               occurrence in question up to the time of trial.

       Further, the following are elements of damages to be considered separately which the

Plaintiff will sustain in the future beyond the trial that are determined by a preponderance of the

evidence upon trial of this cause.

       a.      The physical pain that the Plaintiff will suffer in the future beyond the time of trial;

       b.      The mental anguish that the Plaintiff will suffer in the future beyond the time of
               trial;

       c.      The reasonable value of medical expenses that will necessarily be incurred in the
               treatment of the Plaintiffs injuries in the future beyond the time of trial;

       d.      The loss and/or reduction in Plaintiffs earnings or earning capacity in the future
               caused by the injuries sustained in the occurrence in question;

       e.      The disfigurement that the Plaintiff will suffer in the future beyond the time of trial;
               and

       f.      the physical impainnent which the Plaintiff will suffer in the future beyond the time
               of trial.

       Plaintiff, Miguel Garcia, seeks monetary relief of over $250,000, but not more than



                                                  4
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                      Page 10 of 26 PageID 17



$1,000,000, and demand for judgment for all other relief to which the party deems himself entitled.

                             VIII. REQUESTS FOR DISCLOSURE

       Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant disclose

the information or material described in Rule 194.2.

                                       IX. JURY DEMAND

       Plaintiff respectfully requests a trial by jury and herewith tenders the appropriate fee.

                                           X. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to

appear and answer and that upon final hearing, Plaintiff, recover judgment against the Defendant

for his damages as they may appear at trial hereof, prejudgment and post-judgment interest, costs

of court, and such other relief to which Plaintiff may be entitled.

                                                       Respectfully Submitted,

                                                       KLITSAS & VERCHER, P.C.

                                                       By:     /s/ Loren G. Klitsas
                                                              Loren G. Klitsas
                                                              State Bar No. 00786025
                                                              550 Westcott, Suite 570
                                                              Houston, Texas 77007
                                                              (713) 862-1365- telephone
                                                              (713) 862-1465 - facsimile
                                                              klitsas@kv-law .com

                                                       ATTORNEY FOR PLAINTIFF




                                                  5
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22   Page 11 of 26 PageID 18




                 EXHIBIT 2




                                                          Exhibit 2
                                                                                                                                                          FILED
                                                                                                                                             3/14/2022 11:07 AM
                                                                                                                                                 FELICIA PITRE
                      Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                          Page 12 of 26 PageID 19                        DISTRICT CLERK
                                                                                                                                            DALLAS CO., TEXAS
                                                                                                                                         SADAF RAJPUT DEPUTY




FORM NO. 353-3- CITATION                                                                                                  ESERVE
THE STATE OF TEXAS
                                                                                                                         CITATION

 To:    BEST BUY CO., INC.
        SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                                  DC-22-01840
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3136
                                                                                                                      MIGUEL GARCIA
GREETINGS:                                                                                                                  vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written                        BEST BUY CO., INC.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you. In addition to filing a written answer with the clerk, you may be required to make initial                ISSUED THIS
disclosures to the other parties of this suit. These disclosures genera1Iy must be made no later than 30 days    22nd day of February, 2022
after you file your answer with the clerk Find out more at TexasLawHelp.org. Your answer should be
addressed to the clerk of the 68th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                      FELICIA PITRE
Said Plaintiff being MIGUEL GARCIA                                                                                  Clerk District Courts,
                                                                                                                    Dallas County, Texas
Filed in said Court 15th day of February, 2022 against

BEST BUY CO., INC.                                                                                              By: DANIEL MACIAS, Deputy

For Suit, said suit being numbered DC-22-01840, the nature of which demand is as follows:                          Attorney for Plaintiff
Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURE,                               LOREN G. KLITSAS
a copy of which accompanies this citation. If this citation is not served, it shall be returned unexecuted.     KLITSAS & VERCHER, P.C.
                                                                                                                550 WESTCOTT SUITE 570
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                     HOUSTON TX 77007
Given under my hand and the Seal of said Court at office this 22nd day of February, 2022.                               713-862-1365
                                                                                                                    klitsas@kv-law .com
ATTEST: FELICIA PITRE, Clerk ofthe District Courts of Dallas, County, Texas                                      DALLAS COUNTY

                                 12     L----
                        By________~___________________
                              DANffiLMACIAS
                                                       ,Depucy
                                                                                                                   SERV'ICE FEES
                                                                                                                      NOT PAID
                                   Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                                                                Page 13 of 26 PageID 20




                                                                                                OFFICER'S RETURN
Case No. : DC-22-01840
Court No.68th District Court

Style: MIGUEL GARCIA

 vs.

BEST BUY co., INC.                  l (/ L"                                                                               /)                       "
Came to hand on the                      0f"V t        day of      (YUVdJ '                      20      fl,?,.    >at    v·'OO      0
                                                                                                                                         1
                                                                                                                                         Clock    r      .M. Executed at    11?1   ./ip:tlviSj';.~R~ /.F ,.~
within the County of _ _ __....!J,...s.;:A.:~:...~U...,._1'-'-"-tr_ _ _ _ at   J >s'   y.r       0
                                                                                                     1
                                                                                                     clock __tf:_ .M. on the                 /0   )p/ day of'--£..:./11'-'llu:.iZ.....C l - £ . = - - - - - - - - - - -
20          n.
   ----~-----
                            'by delivering to the within named                     [tlfr      JJU"         co     !tly        s/s   Jl:T P/11 I. 0          t~rc&/liJ.'r-;ou ...CtJ'i:tt'?U r I )1'1/ktf)Uti
                                                                                                                                                                                                   I




  nm1ttt
each in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was ----'miles and my fees are as follows: To certify which witness my hand.
                                         For serving Citation                     $_ _ __

                                                                                  $ _ _ __

                                                                                                                                             ~:·~+~=
                                         For mileage                                                                 of
                                         For Notary                               $                                      By                  -~.,.
                                                                                       (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said S.l:1ill{iJJ                 .J~_ Jl;1V5fJ~f11111_. before me this                \ \4flday of      (!X)Y(.b                   ,20

to certify which witness my hand and seal of office.
                                                                                                                                    0a.»u.a~ 1h. ~Vl
                                                                                                                         Notary Public       0~                               Coun~

                           ,,,~~~z,,.,.,. CARRIE MICHELLE DEAN
                         if:·-::J;~<-6~ Notary Public. Stat& of Texas
                         ;;.~. 'J'((!J'E Comm. Expires 02-01-2026
                                     .
                          ~~Z;m;:,, ,$' Notarv 10 133563213 .
     Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22             Page 14 of 26 PageID 21
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 62571073
Status as of 3/16/2022 11 :48 AM CST

Case Contacts

Name              BarN umber   Email                TimestampS ubm itted    Status

LOREN G.KLITSAS                klitsas@kv-law.com   3/14/2022 11:07:48 AM   SENT
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22   Page 15 of 26 PageID 22




                 EXHIBIT 3




                                                          Exhibit 3
                                                                                                            FILED
                                                                                                 4/1/2022 2:25 PM
                                                                                                   FELICIA PITRE
  Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22               Page 16 of 26 PageID       23 DISTRICT CLERK
                                                                                              DALLAS CO., TEXAS
                                                                                            Brandon Keys DEPUTY


                                      CAUSE NO. DC-22-01840

 MIGUEL GARCIA,                                    §        IN THE DISTRICT COURT
      Plaintiffs,                                  §
                                                   §
 vs.                                               §        68TH JUDICIAL DISTRICT
                                                   §
 BEST BUY CO., INC.,                               §
       Defendant.                                  §        DALLAS COUNTY, TEXAS

                                 DEFENDANT’S ORIGINAL ANSWER

       COMES NOW, Defendant Best Buy Co., Inc., (“Defendant”), in the above-entitled and

numbered cause and files its Original Answer and, in support thereof, respectfully show as

follows:

                                                 I.
                                          VERIFIED DENIAL

       1.      By way of verified denial pursuant to Texas Rule of Civil Procedure 93, Defendant

denies that Plaintiff is entitled to recover from named Defendant “BEST BUY CO., INC.” in the

capacity in which it has been sued. Specifically, Defendant denies that “BEST BUY CO., INC.” was,

in any way, involved in the events giving rise to this action or employed the persons involved in

the alleged incident. Consequently, Plaintiff has no right or potential right of recovery against

Defendant “BEST BUY CO., INC.” because it is not a proper party. See, e.g., Ray Malooly Trust v.

Juhl, 186 S.W.3d 568, 571 (Tex. 2006). Though both liability and damages are disputed, the

correct Best Buy entity, if any, is Best Buy Stores, L.P.

                                                II.
                                          GENERAL DENIAL

       2.      Defendant denies each and every material allegation contained in Plaintiff’s

Original Petition and an amendment or supplement thereto, demands strict proof thereof, and,



DEFENDANT’S ORIGINAL ANSWER                                                                Page 1
  Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                Page 17 of 26 PageID 24



to the extent that such matters are questions of fact, says Plaintiff must prove such facts by a

preponderance of the evidence if he can so do.

                                                III.
                   DEFENSES AND LIMITATIONS ON DAMAGES AND LIABILITY

      3.       Defendant specifically denies Plaintiff’s claims that it was negligent, and

Defendant denies that its alleged acts or omissions proximately caused Plaintiff’s alleged

damages, if any.

      4.       Defendant asserts that Plaintiff failed to use the degree of care and caution as

would have been used by a reasonable person under the same or similar circumstances, which

solely produced and proximately caused Plaintiff’s alleged damages, if any.

      5.       Defendant asserts that Plaintiff’s alleged damages, if any, may have been caused

by the acts of third persons not under the control of Defendant. Such acts or omissions of said

third persons may have been the sole and/or a producing and/or a proximate and/or an

intervening and/or a supervening cause of Plaintiff’s damages or injuries, if any.

      6.       Defendant asserts that the inherent dangers and risks associated with lifting were

commonly known, obvious, and actually known to Plaintiff and, therefore, Defendant had no

duty to protect Plaintiff against such risks.

      7.       Defendant contends that it is not liable to Plaintiff because Plaintiff was

performing the same character of work that he and employees in his position have always done,

and there is no evidence the work was unusually precarious.

      8.       Defendant asserts that it owed Plaintiff no duty to warn, train, or provide

additional equipment or employees because the task he was performing did not require special




DEFENDANT’S ORIGINAL ANSWER                                                                Page 2
  Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                Page 18 of 26 PageID 25



training or tools and the risks associated with it are commonly known and/or appreciated by

Plaintiff.

       9.        Defendant asserts that the accident complained of was an unavoidable accident,

as that term is known under Texas law.

      10.        To the extent necessary, Defendant asserts that Plaintiff’s damages, if any, may

have been the result of prior, pre-existing, or subsequent injuries, accidents, or conditions, and

said prior, pre-existing, or subsequent injuries, accidents, or conditions were the sole or

contributing cause of Plaintiff’s damages, if any.

      11.        Defendant may further show that Plaintiff may have breached his duty to mitigate

damages by failing to exercise reasonable care and diligence to avoid loss and minimize the

consequences of damages. This may include failing to present available health insurance

information to medical providers to take advantage of contractual write-offs and adjustments

available under such health-insurance plans.

      12.        Defendant asserts that Plaintiff may be malingering and/or exaggerating the

nature and severity of his alleged injuries to inflate the amount of his alleged damages. Further,

to the extent Plaintiff has been or is malingering and/or exaggerating the nature and severity of

his alleged injuries in order to continue treatment and thereby increase the amount of his

medical damages, Defendant contends that said extended treatment is not medically necessary

or reasonable.

      13.        Defendant contends that any claims for past and future medical or health care

expenses are limited to the customary and usual amounts charged for reasonable and necessary

medical care, must be reasonable charges for the service for the location provided, and, as



DEFENDANT’S ORIGINAL ANSWER                                                                 Page 3
  Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                Page 19 of 26 PageID 26



regards to past medical expenses, are further limited to the amounts actually paid or incurred by

or on behalf of Plaintiff, pursuant to Texas Civil Practice and Remedies Code § 41.0105.

      14.      Defendant contends that, pursuant to Texas Civil Practice & Remedies Code

§ 18.091, to the extent Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of

earning capacity, and loss of contributions of pecuniary value, evidence of these alleged losses

must be presented by Plaintiff in the form of a net loss after reduction for income tax payments,

or unpaid tax liability to any federal income tax law.

      15.      Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

      16.      In the unlikely event an adverse judgment is rendered against it, Defendant

respectfully prays for contribution, indemnity and/or all available credits as provided for in the

Texas Civil Practice and Remedies Code and under Texas law.

      17.      Defendant asserts that it is further entitled to a credit or offset against any

judgment that may be rendered against it for any and all amounts paid to or on behalf of Plaintiff

under any of Defendant’s benefit or insurance programs, including, but not limited to, the

Occupational Benefits Plan for the Texas Employees of Best Buy Co., Inc. and/or any other later

named Best Buy entity, as applicable.

                                            IV.
                                 COURT REPORTER REQUESTED

       Defendant respectfully requests that a court reporter be present at all proceedings before

the Court.




DEFENDANT’S ORIGINAL ANSWER                                                                  Page 4
  Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                     Page 20 of 26 PageID 27



                                                 V.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that Plaintiff take

nothing by this cause of action; that Defendant be permitted to recover the costs and fees

expended on its behalf; and for all other and further relief, both general and special, at law and

in equity, to which it shows itself to be justly entitled.

                                                Respectfully submitted,
                                                /s/ Donna C. Peavler
                                                Donna C. Peavler
                                                State Bar No. 00783887
                                                dpeavler@peavlerbriscoe.com
                                                Sara K. Scudday
                                                State Bar No. 24073675
                                                scudday@peavlerbriscoe.com
                                                PEAVLER|BRISCOE
                                                2215 Westgate Plaza
                                                Grapevine, Texas 76051
                                                (214) 999-0550 (telephone)
                                                (214) 999-0551 (facsimile)

                                                ATTORNEYS FOR DEFENDANT



                                      CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
Procedure on April 1, 2022.

                                                /s/ Donna C. Peavler
                                                Donna C. Peavler




DEFENDANT’S ORIGINAL ANSWER                                                                 Page 5
   Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22                    Page 21 of 26 PageID 28



                                          VERIFICATION

STATE OF TEXAS                §
                              §
COUNTY OF TARRANT             §

       Before me, the undersigned authority, did personally appear Donna C. Peavler, who upon
her oath deposes and says that she is one of the attorneys of record for Defendant; that she is
over the age of 18 and otherwise competent to make this verification. Accordingly, Donna C.
Peavler verifies that the facts alleged in Section I of the foregoing pleading are true and correct.




                                                 Donna   c.      ler




       Subscribed and sworn to before me on this the \ $Y' day    of~ 2022.


                                                    Lnm~~
                                                 NOTARY PUBLIC in and for the State of Texas




DEFENDANT'S ORIGINAL ANSWER                                                                  Page 6
     Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22             Page 22 of 26 PageID 29
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Donna Peavler on behalf of Donna Peavler
Bar No. 783887
dpeavler@peavlerbriscoe.com
Envelope ID: 63191249
Status as of 4/1/2022 3:09 PM CST

Case Contacts

Name                    BarNumber   Email                          TimestampSubmitted    Status

LOREN G.KLITSAS                     klitsas@kv-law.com             4/1/2022 2:25:23 PM   SENT

Donna Peavler                       dpeavler@peavlerbriscoe.com    4/1/2022 2:25:23 PM   SENT

Janie Karrington                    jkarrington@peavlerbriscoe.com 4/1/2022 2:25:23 PM   SENT

Sandy Dixon                         sdixon@peavlerbriscoe.com      4/1/2022 2:25:23 PM   SENT

Sara KimbroughScudday               SScudday@peavlerbriscoe.com    4/1/2022 2:25:23 PM   SENT
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22   Page 23 of 26 PageID 30




                 EXHIBIT 4




                                                         Exhibit 4
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22         Page 24 of 26 PageID 31




Case Information

DC-22-01840 | MIGUEL GARCIA vs. BEST BUY CO., INC.

Case Number                      Court                    Judicial Officer
DC-22-01840                      68th District Court      HOFFMAN, MARTIN
File Date                        Case Type                Case Status
02/15/2022                       OTHER PERSONAL INJURY    OPEN




Party

PLAINTIFF                                                 Active Attorneys 
GARCIA, MIGUEL                                            Lead Attorney
                                                          KLITSAS, LOREN GEORGE
                                                          Retained




DEFENDANT                                                 Active Attorneys 
BEST BUY CO., INC.                                        Lead Attorney
Address                                                   PEAVLER, DONNA C
                                                          Retained
REGISTERED AGENT CT CORPORATION SYSTEM
1999 BRYAN STREET, SUITE 900
DALLAS TX 75201-3136




Events and Hearings
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22   Page 25 of 26 PageID 32
 02/15/2022 NEW CASE FILED (OCA) - CIVIL


 02/15/2022 ORIGINAL PETITION 


 ORIGINAL PETITION


 02/15/2022 ISSUE CITATION 


 ISSUE CITATION - BEST BUY CO., INC.


 02/15/2022 JURY DEMAND 


 JURY DEMAND


 02/15/2022 REQUEST FOR SERVICE 


 REQUEST FOR SERVVICE


 02/22/2022 CITATION 


 Served
 03/10/2022

 Anticipated Server
 ESERVE

 Anticipated Method
 Actual Server
 PRIVATE PROCESS SERVER

 Returned
 03/14/2022
 Comment
 BEST BUY CO., INC.


 03/14/2022 RETURN OF SERVICE 


 EXECUTED CITATION - BEST BUY CO INC

   Comment
   EXECUTED CITATION - BEST BUY CO INC


 04/01/2022 ORIGINAL ANSWER - GENERAL DENIAL 


 BEST BUY'S ORIGINAL ANSWER
Case 3:22-cv-00795-M Document 1-2 Filed 04/07/22   Page 26 of 26 PageID 33

Documents


 REQUEST FOR SERVVICE

 ORIGINAL PETITION
 JURY DEMAND

 ISSUE CITATION - BEST BUY CO., INC.
 EXECUTED CITATION - BEST BUY CO INC

 BEST BUY'S ORIGINAL ANSWER
